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                               SO ORDERED: June 6, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                                            Chapter 11
    In re:
                                                            Case No. 18-9108-RLM-11
                           1
    USA GYMNASTICS,

                          Debtor.


         ORDER SHORTENING NOTICE ON DEBTOR’S MOTION TO DESIGNATE
                 KAROLYI PARTIES AS ADDITIONAL PERMITTED
                   PARTIES PURSUANT TO BAR DATE ORDER

             This matter came before the Court on the Debtor’s Motion To Shorten Notice (the

“Motion”) on the Debtor’s Motion To Designate Karolyi Parties As Additional Permitted Parties



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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Pursuant To Bar Date Order (the “Karolyi Parties Motion”) filed by USA Gymnastics

(the “Debtor”) for an order pursuant to Rule 9006(c) of the Federal Rules of Bankruptcy

Procedure, Rule 9006-1(a) of the Local Rules of the United States Bankruptcy Court for the

Southern District of Indiana (the “Local Rules”), and section III.F of the case management

procedures appended to the Order Granting Debtor’s Motion For Order Establishing Certain

Notice, Case Management, And Administrative Procedures [Dkt. 213] (the “Case Management

Procedures”); and the Court finds that (i) it has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1334(b); (ii) this matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); (iii) the

relief requested in the Motion is in the best interests of the Debtor, its estate, and creditors, and

any party in interest; and after due deliberation, and good and sufficient cause appearing therefore,

the Court hereby determines the Motion should be GRANTED.

       IT IS HEREBY ORDERED:

       1.      The Motion is granted.

       2.      The Debtor shall serve this Order and certify such service in accordance with the

Case Management Procedures and Local Rules 9006-1(d) and 9006-1(e).

       3.      The Karolyi Parties Motion is set to be heard at a telephonic hearing (the

“Hearing”) to be held on Monday, June 17, 2019 at 1:30 p.m. (prevailing Eastern time). The

Hearing will only be held if objections are timely filed. If no objections are timely filed the

Court may grant the Karolyi Parties Motion without a hearing.

       4.      Any objections to the Karolyi Parties Motion must be in writing and filed with

the Clerk’s Office and served, via the Court’s ECF system, by June 13, 2019 at 4:00 p.m.

(prevailing Eastern time).




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       5.      A dial-in telephone number for interested parties to participate in the Hearing by

conference call is 1-888-273-3658, passcode: 9247462#. All callers shall keep their phones muted

unless addressing the Court. All callers must identify themselves and the party(ies) they represent

when addressing the Court. Callers shall not place their phones on hold during the Hearing.

       6.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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